  Case 6:14-cv-00120-KNM Document 1 Filed 02/17/14 Page 1 of 4 PageID #: 1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

QOMMERCE SYSTEMS, LLC,

                             Plaintiff,               Case No. 6:14-cv-120
   v.
                                                      PATENT CASE
PC CONNECTION, INC.,
                                                      JURY TRIAL DEMANDED
                             Defendant.

                                           COMPLAINT

         Plaintiff Qommerce Systems, LLC, files this Complaint against Defendant PC

Connection, Inc., for infringement of United States Patent No. 7,356,606 (the “‘606 Patent”).

                                PARTIES AND JURISDICTION

         1.    This is an action for patent infringement under Title 35 of the United States Code.

Plaintiff is seeking injunctive relief as well as damages.

         2.    Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal

Question) and 1338(a) (Patents) because this is a civil action for patent infringement arising

under the United States patent statutes.

         3.    Plaintiff Qommerce Systems, LLC (“Plaintiff” or “Qommerce”), is a Texas

limited liability company with its principal office located in the Eastern District of Texas, at 719

W. Front Street, Suite 211, Tyler, Texas 75702.

         4.    Upon information and belief, Defendant PC Connection, Inc. (“Defendant”), is a

Delaware corporation with a principal office located at 730 Milford Road, Merrimack, NH

03054.

         5.    This Court has personal jurisdiction over Defendant because Defendant has

committed, and continues to commit, acts of infringement in the state of Texas, has conducted
  Case 6:14-cv-00120-KNM Document 1 Filed 02/17/14 Page 2 of 4 PageID #: 2




business in the state of Texas, has directed an interactive website at Texas, and/or has engaged in

continuous and systematic activities in the state of Texas.

       6.      On information and belief, within the State of Texas and the Eastern District of

Texas, Defendant has made and/or used the patented invention with the website(s) and

functionality identified herein below. In addition, on information and belief, Defendant has

derived substantial revenues from its infringing acts within the State of Texas and the Eastern

District of Texas.

                                             VENUE

       7.      Venue is proper in the Eastern District of Texas pursuant to 28 U.S.C. §§ 1391(c)

and 1400(b) because Defendant is deemed to reside in this district. In addition, and in the

alternative, Defendant has committed acts of infringement in this district.

                                  COUNT I
             (INFRINGEMENT OF UNITED STATES PATENT NO. 7,356,606)

       8.      Plaintiff incorporates paragraphs 1 through 6 herein by reference.

       9.      This cause of action arises under the patent laws of the United States, and in

particular, 35 U.S.C. §§ 271, et seq.

       10.     Plaintiff is the owner by assignment of the ‘606 Patent with sole rights to enforce

the ‘606 Patent and sue infringers.

       11.     A copy of the ‘606 Patent, titled “Dynamic Web Storefront Technology,” is

attached hereto as Exhibit A.

       12.     The ‘606 Patent is valid and enforceable, and it was duly issued in full

compliance with Title 35 of the United States Code.




                                                 2
   Case 6:14-cv-00120-KNM Document 1 Filed 02/17/14 Page 3 of 4 PageID #: 3




        13.     The ‘606 Patent has been forward-cited as prior art in connection with the

examination of several subsequently-issued U.S. patents, including patents originally assigned to

such prominent technology companies as IBM, Oracle, Google, SAP, and Sprint.

                                      (Direct Infringement)

        14.     Upon information and belief, Defendant has infringed and continues to directly

infringe one or more claims of the ‘606 Patent, including at least claim 11, by actions comprising

making and/or using one or more websites used in conducting commerce over the Internet,

including without limitation the website www.pcconnection.com and associated sub sites, web

pages and functionality within that website (the “Accused Instrumentalities”).

        15.     Defendant’s actions complained of herein are causing irreparable harm and

monetary damage to Plaintiff and will continue to do so unless and until Defendant is enjoined

and restrained by this Court.

        16.     Plaintiff is in compliance with 35 U.S.C. § 287.

                                  DEMAND FOR JURY TRIAL

        Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury of

all issues so triable by right.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests the Court to:

        a)    Enter judgment for Plaintiff on this Complaint on all causes of action asserted

              herein;

        b)    Enjoin Defendant, its agents, officers, servants, employees, attorneys and all

              persons in active concert or participation with Defendant who receive notice of the

              order from further infringement of United States Patent No. 7,356,606 (or, in the




                                                 3
  Case 6:14-cv-00120-KNM Document 1 Filed 02/17/14 Page 4 of 4 PageID #: 4




           alternative, awarding Plaintiff a running royalty from the time of judgment going

           forward);

      c)   Award Plaintiff damages resulting from Defendant’s infringement in accordance

           with 35 U.S.C. § 284;

      d)   Award Plaintiff pre-judgment and post-judgment interest and costs; and

      e)   Award Plaintiff such further relief to which the Court finds Plaintiff entitled under

           law or equity.

Dated: February 17, 2014                   Respectfully submitted,


                                            /s/ Craig Tadlock
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                                              4
